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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                   No: 3:18-cv-252
COMMISSION,
                                          Carlton W. Reeves, District Judge
          Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                             February 19, 2019




                                         /s/ Alysson Mills
                                  Alysson Mills, Miss. Bar No. 102861
                                  Fishman Haygood, LLP
                                  201 St. Charles Avenue, Suite 4600
                                  New Orleans, Louisiana 70170
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                                  Receiver for Arthur Lamar Adams and
                                  Madison Timber Properties, LLC
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Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on December 21, 2018, and this report picks up where that report left off. It does not repeat the
same information, except as necessary for context. It contains the following parts:

                                                                        page
                      Recent filings or events                            3
                      Receiver’s actions in the past 60 days              6
                      Receiver’s plan for the next 60 days                9
                      Summary of status of assets                         12


        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




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Recent filings or events

       United States v. Adams, No. 3:18-cr-88

       Adams reported to the Bureau of Prisons on January 7, 2019. He is serving a 235-month,
or 19.5-year, sentence, currently at the Federal Correctional Institution in Forrest City, Arkansas.


       Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252

       Motion for contempt—Alexander Seawright: Readers will recall that I filed a motion for
contempt against Alexander Seawright Timber Fund I, LLC, Brent Alexander, and Jon Seawright
(“Alexander Seawright”) following their pursuit and settlement of claims against UPS arising from
UPS employees’ notarization of fake timber deeds. The motion for contempt and related filings
are available at madisontimberreceiver.com. The Court held a hearing on the motion for contempt
on December 19, 2018, and as of this filing had not issued a ruling.

       Settlement—Ole Miss Athletic Foundation: Readers will recall that the Foundation agreed
to return an additional $310,169 to the Receivership Estate that, with the $39,667 it previously
returned for unused 2018 football and 2019 baseball tickets, represents $349,836 of the $402,100
that Adams gave to the Foundation in the past ten years. For the remaining $52,264, Adams
received “tangible benefits,” including events tickets that he used. On January 9, 2019, I submitted
to the Court a proposed settlement agreement with the Ole Miss Athletic Foundation. On January
29, 2019, the Court approved the proposed settlement agreement; the settlement agreement and
the order of approval are available at madisontimberreceiver.com. Pursuant to the settlement
agreement, the Foundation paid half of the amount due immediately. It will pay the remainder by
April 29, 2019, or 90 days from the date of approval.

       Motion regarding stay—the Lehans: On January 14, 2019, Jeanne Lehan and Pamela
Lehan, representatives of an LLC that invested in Madison Timber, moved the Court to declare
that the Court’s stay of litigation did not apply to their lawsuit against Pinnacle Trust, who they
say facilitated the LLC’s investments in Madison Timber. The SEC and I both opposed the
Lehans’ motion. My response, filed January 28, 2019, argues the Court has the authority to issue
“blanket stays” of any litigation affecting the Receivership Estate; the stay applies equally to all
investors; I am assessing the Receivership Estate’s claims against Pinnacle Trust; and the Lehans’
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lawsuit could diminish assets of Pinnacle Trust available to satisfy the Receivership Estate’s
claims. The Lehans’ motion and related filings are available at madisontimberreceiver.com. As of
this filing the Court had not issued a ruling.

       Proposed marital property settlement—Vickie Lynn Adams: On January 24, 2019, I
submitted to the Court a proposed marital property settlement agreement with Adams’s wife,
Vickie Lynn Adams. The Adamses married in 1978 and Mrs. Adams has an interest in certain
receivership property that constitutes marital assets under the laws of the State of Mississippi. We
agreed to allocate those marital assets as set forth in the proposed marital property settlement
agreement, available at madisontimberreceiver.com. As of this filing the Court had not entered an
order of approval.


       Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679

       Wayne Kelly: Readers will recall that the Court approved the proposed settlement
agreement with Kelly on December 19, 2018. The settlement agreement and the order of approval
are available at madisontimberreceiver.com. Pursuant to the settlement agreement, Kelly has now
transferred the following assets to the Receivership Estate:
              $836,000 in cash, subject to a tax escrow;
              $500,000 in proceeds from retirement accounts in Kelly’s name;
              all proceeds from the liquidation of life insurance policies in Kelly’s name or to
               which he is entitled to the cash value;
              all proceeds from the liquidation of Kelly’s interest in 707, LLC; and
              Kelly’s interest in KAPA Breeze, LLC.

The settlement agreement calls for Kelly to transfer any proceeds he received for his interest in
315 Iona, LLC. That company’s sole business was the construction and sale of a home in Metairie,
Louisiana. The home finally sold last month, but at a $4,000 loss to the company.

       In addition to transferring the foregoing assets to the Receivership Estate, Kelly also
executed a promissory note in the original principal amount of $400,000 due and payable in two
and a half years that may be prepaid in the amount of $100,000 if paid within 365 days, $200,000
if paid in 547 days, or $300,000 if paid in 730 days. Kelly has undertaken to restate his federal and
state income tax returns for the years in question, as permitted by law, and transfer 90% of any
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refunds received to the Receivership Estate. He has a continuing obligation to cooperate with my
ongoing efforts to recover money for the Receivership Estate.

          Mike Billings: Readers will recall that Billings and I have had productive settlement
negotiations, and I believe settlement with Billings is likely. He has made requested financial
disclosures and submitted to examination under oath.

          Bill McHenry: Litigation against McHenry is ongoing. On January 22, 2019, McHenry
filed a response to my motion for summary judgment against him, and on January 29, 2019, I filed
a reply. My reply represented that there are no factual disputes and the Court may enter judgment
against McHenry in the amount requested, $3,473,320, as a matter of law, without hearing or trial.
The motion for summary judgment and related filings are available at madisontimberreceiver.com.
As of this filing the Court had not issued a ruling.


          Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866

          Readers will recall that on December 19, 2018, I filed a lawsuit against Butler Snow LLP;
Butler Snow Advisory Services, LLC; Matt Thornton; Baker, Donelson, Bearman, Caldwell &
Berkowitz, PC; Alexander Seawright, LLC; Brent Alexander; and Jon Seawright—law firms and
their agents who lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber.

          Butler Snow filed a motion to dismiss on January 24, 2019. Butler Snow did not address
the facts alleged against it but argued the case should be submitted to private arbitration. I opposed
Butler Snow’s motion. My response, filed February 7, 2019, argues, among other things, that
private arbitration is in no one’s interest, except Butler Snow’s. Butler Snow’s motion and related
filings are available at madisontimberreceiver.com. As of this filing the Court had not issued a
ruling.

          Baker Donelson’s response to the lawsuit is due February 21, 2019.




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Receiver’s actions in the past 60 days

       Since I filed my third report on December 21, 2018, I have:


       Continued to litigate Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679

       As summarized above, I received assets from Wayne Kelly following the Court’s approval
of the Receivership Estate’s settlement with him on December 19, 2018; I filed a reply to Bill
McHenry’s response to my motion for summary judgment against him on January 29, 2019; and I
continued to negotiate settlement with Mike Billings.


       Continued to litigate Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866

       As summarized above, I opposed Butler Snow’s motion to dismiss, in which Butler Snow
argues the claims against it should be submitted to private arbitration. My response, filed February
7, 2019, argues, among other things, that private arbitration is in no one’s interest, except Butler
Snow’s.


       Finalized settlements with other parties

       Ole Miss Athletic Foundation: As summarized above, on January 9, 2019, I submitted to
the Court a proposed settlement agreement with the Foundation and on January 29, 2019, the Court
approved it. I received $155,084.50, or half of the amount due, immediately. The Foundation will
pay the remainder by April 29, 2019, or 90 days from the date of approval.

       Vickie Lynn Adams: As summarized above, on January 24, 2019, I submitted to the Court
a proposed marital property settlement agreement with Mrs. Adams. The proposed marital
property settlement agreement is available at madisontimberreceiver.com.


       Negotiated with Adams’s family

       Readers will recall that I have had productive negotiations with Adams’s children
regarding the settlement of the Receivership Estate’s claims to recover cash gifts made to them by
Adams. I expect to present a proposed settlement agreement to the Court soon.

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       Continued to account for “commissions” and gifts

       I continue to account for “commissions” paid by Adams or Madison Timber to individuals
in exchange for their assistance in recruiting new investors to the Madison Timber Ponzi scheme.


       Continued to review records

       To date I have received and reviewed records from Wayne Kelly, Mike Billings, Alexander
Seawright, Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River
Hills Bank, Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit,
Adams’s and Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison
Trust Company (no relation to Madison Timber), and Pinnacle Trust. I continue to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber.


       Worked with LLCs of which Adams was a member

       Readers will recall that Adams was a member of at least six active limited liability
companies (“LLCs”) that own real estate, and two of those LLCs—707, LLC and Delta Farm Land
Investments, LLC—sold their principal assets, dissolved, and tendered to the Receivership Estate
proceeds representing the Receivership Estate’s interests. Of the remaining LLCs, the following
LLCs have taken the following action:

       KAPA Breeze, LLC: The LLC’s principal asset is 1.5+/- acres of mixed-use land on
Highway 30A in Florida. The Receivership Estate has a 50% interest (25% from Adams plus 25%
from Wayne Kelly) in the LLC, therefore a 50% interest in the property. I have received a letter
of intent from a buyer who wishes to purchase the Receivership Estate’s interest. Based on an
appraisal that I obtained for the property, I believe the proposed sale will be in the best interests of
the Receivership Estate. Any sale is contingent on the LLC’s obtaining financing to continue to
develop the property. I received evidence of financing yesterday and am presently reviewing.

       Mallard Park, LLC: The LLC’s principal asset is 1,723 acres with a hunting lodge in
Humphreys County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
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Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate. In the meantime, I have agreed to
release funds held in an LLC bank account that was frozen to its members, including the
Receivership Estate, in proportion to the members’ interests.

       MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate.

       Oxford Springs, LLC: The LLC executed a purchase agreement to sell its principal asset,
2,300+/- acres of undeveloped land in Lafayette County, Mississippi, on February 11, 2019. The
purchaser is currently engaged in due diligence. The LLC anticipates that the sale will close on or
before May 12, 2019. The LLC intends to dissolve after the sale and tender the proceeds
representing the Receivership Estate’s interest to the Receivership Estate.


       Conferred with federal and state authorities

       I have continued to confer with the U.S. Attorney’s Office for the Southern District of
Mississippi, the FBI, the Securities and Exchange Commission, the Mississippi Secretary of
State’s Office, and now also the Mississippi Department of Banking and Consumer Finance.


       Communicated with investors in Madison Timber

       I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily.




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       Issued 1099s for 2018

       I am required to issue 1099s for Madison Timber Properties, LLC. I engaged a CPA to do
that and all investors should have received a Form 1099-INT for any investment in their name in
the year 2018. For any investment for which the investor invested through Madison Trust (no
relation to Madison Timber), I issued a Form 1099-R not to the investor but instead to Madison
Trust. I take no position on what an individual investor decides to do with his or her 1099. I
encourage each investor to contact me promptly (504-586-5253) if he or she believes a 1099 is
incorrect.


       Interviewed persons with knowledge

       I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate.


       Researched legal claims against third parties

       Readers know that my colleagues and I research legal claims against third parties as new
facts are discovered. I do not publish our assessments here because to do so would be to telegraph
our legal strategies to future defendants.


Receiver’s plan for the next 60 days

       Continue to litigate Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679

       As noted above, I await the Court’s ruling on my motion for summary judgment against
Bill McHenry. No hearing or trial has been set, and it is my position that the Court may enter
judgment against McHenry in the amount requested, $3,473,320, as a matter of law, without
hearing or trial. I continue to negotiate with Mike Billings.


       Continue to litigate Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866
       As noted above, Butler Snow moved to dismiss the lawsuit. That motion has been briefed
and I await the Court’s ruling. I anticipate Baker Donelson’s response to the lawsuit on February
21, 2019.
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       Continue to negotiate with Adams’s family

       As noted above, my negotiations with Adams’s children have been productive, and I expect
we will reach a settlement soon. I will submit any proposed settlement to the Court for its approval.

       Monetize Adams’s interests in the remaining four LLCs

       For the remaining four LLCs, I intend to liquidate the Receivership Estate’s interests to
maximize value to the Receivership Estate:

       KAPA Breeze, LLC: I intend to sell the Receivership Estate’s 50% interest on terms that I
believe to be in the best interests of the Receivership Estate. As noted above, the sale is contingent
on the LLC’s obtaining financing to continue to develop the LLC’s property.

       Mallard Park, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s
other members but, as noted above, I will consider any offer by any party that I believe is fair, and
I encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

       Mash Farms, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s
other members but, as noted above, I will consider any offer by any party that I believe is fair, and
I encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

       Oxford Springs, LLC: I intend to continue to assist the LLC with the proposed sale of its
principal asset, as noted above.


       Liquidate Adams’s remaining assets

       Adams’s remaining assets include the house at 134 Saint Andrews Drive, Jackson,
Mississippi; the 2018 King Ranch Ford F150 truck; and any other assets in Adams’s name,
including any outstanding life insurance policies and any interests in any companies. Readers will
recall that Adams voluntarily surrendered title of the assets to me immediately prior to his

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sentencing, and that the U.S. Attorney’s Office agreed to forego forfeiture proceedings to allow
me to liquidate the assets myself.

           As noted above, Adams’s wife has interests in certain of these assets, and those interests
must be resolved before I undertake any liquidation. We agreed to allocate the assets as set forth
in the proposed marital property settlement agreement, available at madisontimberreceiver.com. I
submitted to the proposed marital property settlement agreement to the Court on January 24, 2019,
and as of this filing the Court had not entered an order of approval.

           The 2018 King Ranch Ford F150 truck is not subject to the proposed marital property
settlement agreement. I have obtained an offer from CarMax to purchase the truck for $42,500.
The truck is black, has only 11,480 miles, and is in good condition. I welcome any better offers
and encourage interested parties to contact me directly (504-586-5253). If I do not receive a better
offer before February 28, 2019, I will sell the truck to CarMax.


           File additional lawsuits

           I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it. To protect the Receivership Estate’s position, I am not disclosing publicly third-party
targets.

           I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.

           Readers can expect one or more new lawsuits in the next 60 days.


           Continue communicating with investors

           I intend to continue communicating with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.




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Summary of status of assets

         Readers know that my end goal is to make an equitable distribution to victims with the

money I recover. Although I continue to recover money from various third parties, including an

additional $1.5 million since my last report, the money that I have recovered to date would not go

far. As I have advised, it may take a long time and a lot of work to recover enough money to make

a meaningful distribution, but I am committed to pursuing recoveries for the benefit of victims so

long as the Court allows. The Receivership Estate’s most valuable assets are the lawsuits it has

filed or intends to file.


         The current status of the Receivership Estate’s assets is as follows:

Receivership Estate’s account at Hancock Bank                                current balance $3,787,412.50
Previous balance as of December 21, 2018       $2,401,236.20
Settlement—Wayne Kelly                        +$1,384,435.17
Settlement—Ole Miss Athletics Foundation       +$155,084.50
Interest                                         +$15,254.48
Bank fees                                            -$23.00
Receiver/Receiver’s counsel’s fees/expenses     -$168,574.85


Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679               settlement with Billings likely
Lawsuit to recover $16,000,000 in commissions
                                                                          litigation against McHenry ongoing


Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866
Lawsuit to hold law firms liable for debts of the Receivership Estate              litigation ongoing


Settlement—Wayne Kelly                                                  received $1,384,435.17 plus interests in
                                                                        707, 315 Iona, and KAPA Breeze, LLCs
                                                                        promissory note in the original principal
                                                                           amount of $400,000 outstanding


Settlement—Ole Miss Athletics Foundation                                 received $155,084.50, first installment
                                                                           $155,084.50, second installment,
                                                                                 due April 29, 2019




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Settlement—Frank Zito                                                received $100,000, first installment
                                                                        $100,000, second installment,
                                                                             due June 12, 2019

House at 134 Saint Andrews Drive, Jackson, Mississippi               motion to approve marital property
Purchased in 2011 for $364,000                                        settlement agreement pending;
Appraised in 2016 for $777,000                                           liquidation after approval
Unencumbered

Condo in Calton Hill subdivision in Oxford, Mississippi              motion to approve marital property
Purchased in 2013 for $135,000                                        settlement agreement pending;
Unencumbered                                                             liquidation after approval

2018 King Ranch Ford F150 truck                                       for sale; interested parties contact
Estimated $42,500                                                      Receiver directly (504-586-5253)

Hartford Life and Annuity Insurance Co. life insurance policy            surrendered for $167,206.60

Lincoln National Life Insurance Co. life insurance policy                 surrendered for $3,678.45

Hartford Life and Annuity Insurance Co. life insurance policy          ending account value $13,484.95

Jewelry                                                              motion to approve marital property
                                                                      settlement agreement pending;
                                                                         liquidation after approval

Firearms                                                             Adams voluntarily surrendered title
                                                                           to Receivership Estate;
                                                                     now resolving Receivership Estate’s
                                                                             interests in property

1/3       Delta Farm Land Investments, LLC                         LLC sold principal asset and dissolved;
          1170+ acres farmland in Oktibbeha County                   tendered $323,440.88 representing
          Purchased in 2014 for $2,796,100                        Adams’s interest to the Receivership Estate
          Encumbered by Trustmark Bank mortgage
          Owe approximately $2,200,000

1/2       KAPA Breeze LLC                                              sale of the Receivership Estate’s
          1.5+/- acres mixed-use land on Highway 30A in Florida                 interest pending
          Purchased in 2017 for approximately $1,900,000
          Encumbered by Jefferson Bank mortgage
          Owe approximately $1,365,000

1/4       Mallard Park, LLC                                                   assessing options
          1,723 acres with hunting lodge in Humphreys County
          Purchased in 2016 for $2,593,500
          Encumbered by Southern AgCredit mortgage
          Owe approximately $2,000,000

1/4       Mash Farms, LLC                                                     assessing options
          808+ acres with hunting camp in Sunflower County
          Purchased in 2014 for $1,600,000
          Encumbered by Trustmark Bank mortgage
          Owe approximately $900,000



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47.5%    Oxford Springs, LLC                                                sale of principal asset pending
         2,300+/- acres undeveloped land in Lafayette County
         Purchased in 2015 and 2016 for total of $6,158,000
         Encumbered by First Bank of Clarksdale mortgage
         Owe approximately $4,500,000

1/6      707, LLC                                                       LLC sold principal asset and dissolved;
         263+ acres recreational land in Holmes County                tendered $6,994.09 representing Adams’s,
         Purchased in 2009                                              Kelly’s, and McHenry’s interests to the
         Encumbered by First Commercial Bank mortgage                             Receivership Estate
         Owe approximately $368,000




Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock Bank
account balance.




                                                                                                              14
